      Case 6:19-cv-00663-ADA-DTG Document 209 Filed 11/16/21 Page 1 of 1




                  UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF TEXAS
                         WACO DIVISION
VIDEOSHARE, LLC                       §
                                      §     CIVIL NO:
vs.                                   §     WA:19-CV-00663-ADA
                                      §
GOOGLE LLC, YOUTUBE, LLC              §


                 LIST OF WITNESSES - JURY TRIAL

FOR     PLAINTIFF                         FOR   DEFENDANT
1.      Gad Liwerant                      1.    Daniel Stodolsky
2.      Gary Rosenberg - depo             2.    Christopher Dodge - depo
3.      William T. Meurer - depo          3.    Guillaume Boissiere - depo
4.      Douglas Stern - depo              4.    Nancy Miracle
5.      Nabil Sarhan                      5.    Patrick Franzen - depo
6.      Kevin Almeroth                    6.    Daniel Schonfeld
7.      Christopher Dodge - depo          7.    Lauren Kindler
8.      Guillaume Boissiere-depo          8.
9.      Stephen Holzen                    9.
10.                                       10.
11.                                       11.
12.                                       12.
13.                                       13.
14.                                       14.
15.                                       15.
